           Case 19-50075        Doc 9    Filed 04/02/19    EOD 04/02/19 09:50:47            Pg 1 of 2
                                  UNITED STATES BANKRUPTCY COURT                                 B2500A (rev 12/2017)
                                        Southern District of Indiana
                                         46 E. Ohio St., Rm. 116
                                          Indianapolis, IN 46204

In re:

USA Gymnastics,                                                   Case No. 18−09108−RLM−11
             Debtor.
                                                                  Adv. Proc. No. 19−50075
USA Gymnastics,
               Plaintiff,
      vs.                                                         All documents regarding this matter must be
Gedderts' Twistars USA Gymnastics Club, Inc.,                     identified by both adversary and bankruptcy case
Twistars USA, Inc.,                                               numbers.
John Geddert,
et al.,
               Defendants.

                              SUMMONS IN AN ADVERSARY PROCEEDING

A complaint under Title 11 of the U.S. Code was filed against you in this Court on March 29, 2019, by
Plaintiff USA Gymnastics.

YOU ARE SUMMONED and required to file a motion or answer to the attached complaint within 30 days
after the issuance of this summons.

ANSWER DUE: May 2, 2019

You must serve a copy of the motion or answer on the plaintiff's attorney. If you file a motion, your time to
answer is determined by Fed.R.Bankr.P. 7012.

                               Name and address of plaintiff's attorney:

                               Catherine L. Steege
                               353 N. Clark Street
                               Chicago, IL 60654

You may have the right to have your case decided by the district court. Your failure to respond
timely will be deemed your consent to entry of judgment by the bankruptcy court, and judgment by
default may be taken against you for the relief demanded in the complaint.

                                                       /s/ Kevin P. Dempsey
                                                       Clerk, U.S. Bankruptcy Court




Dated: April 2, 2019
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In re:

USA Gymnastics,                                                Case No. 18−09108−RLM−11
             Debtor.
                                                               Adv. Proc. No. 19−50075
USA Gymnastics,
               Plaintiff,
      vs.                                                      A PDF fillable Certification of Service is available
Gedderts' Twistars USA Gymnastics Club, Inc.,                  at
Twistars USA, Inc.,                                            www.insb.uscourts.gov/webforms/newlaw/cs.pdf.
John Geddert,
et al.,
               Defendants.

                                   CERTIFICATE OF SERVICE
                       REGARDING SUMMONS IN AN ADVERSARY PROCEEDING

I, ___________________________________________ (name), certify that I am, and at all times during
the service of the summons was, not less than 18 years of age and not a party to these cases. I further
certify that the service of this summons and a copy of the complaint were made on
_________________________ (date), by one of the following methods:

     Mail Service: By regular, first class U.S. mail, and postage fully prepaid. (List names/addresses
     below.)
     Personal Service: By leaving the summons with the defendant or with an officer or agent of the
     defendant. (List names/addresses below.)
     Residence Service: By leaving the summons with an adult. (List names/addresses below.)
     Certified Mail Service on an Insured Depository Institution: By sending the summons by certified
     mail addressed to the defendant. (List names/addresses below.)
     Publication: By serving the defendant as outlined in the space below.
     State Law: By serving the defendant pursuant to the laws of the State of ___________________ (U.S.
     state) as outlined in the space below.

LIST NAMES AND ADDRESSES OR BRIEF DESCRIPTION OF HOW DEFENDANT WAS SERVED:




Under penalty of perjury, I declare that the foregoing is true and correct.


_________________________            _________________________         _________________________
Signature                            Date                              Business Address


_________________________                                              _________________________
Printed Name                                                           Business City, State, and Zip
